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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    NORTHERN DIVISION
                                          ______

DARRYL MCGORE,

                       Plaintiff,                      Case No. 2:18-cv-90
v.                                                     Honorable Gordon J. Quist
UNKNOWN SNYDER et al.,

                       Defendants.
____________________________/

                           OPINION DENYING LEAVE
                 TO PROCEED IN FORMA PAUPERIS - THREE STRIKES

               This is a civil rights action brought by a state prisoner under 42 U.S.C. § 1983.

Plaintiff seeks leave to proceed in forma pauperis. Because Plaintiff has filed at least three

lawsuits that were dismissed as frivolous, malicious or for failure to state a claim, he is barred from

proceeding in forma pauperis under 28 U.S.C. § 1915(g). The Court will order Plaintiff to pay the

$400.00 civil action filing fee applicable to those not permitted to proceed in forma pauperis. This

fee must be paid within twenty-eight (28) days of this opinion and accompanying order. If Plaintiff

fails to pay the fee, the Court will order that this case be dismissed without prejudice. Even if the

case is dismissed, Plaintiff must pay the $400.00 filing fee in accordance with In re Alea, 286 F.3d

378, 380-81 (6th Cir. 2002).

                                             Discussion

               The Prison Litigation Reform Act (PLRA), Pub. L. No. 104-134, 110 Stat. 1321

(1996), which was enacted on April 26, 1996, amended the procedural rules governing a prisoner’s

request for the privilege of proceeding in forma pauperis. As the Sixth Circuit has stated, the

PLRA was “aimed at the skyrocketing numbers of claims filed by prisoners–many of which are
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meritless–and the corresponding burden those filings have placed on the federal courts.” Hampton

v. Hobbs, 106 F.3d 1281, 1286 (6th Cir. 1997). For that reason, Congress created economic

incentives to prompt a prisoner to “stop and think” before filing a complaint. Id. For example, a

prisoner is liable for the civil action filing fee, and if the prisoner qualifies to proceed in forma

pauperis, the prisoner may pay the fee through partial payments as outlined in 28 U.S.C. § 1915(b).

The constitutionality of the fee requirements of the PLRA has been upheld by the Sixth Circuit.

Id. at 1288.

                In addition, another provision reinforces the “stop and think” aspect of the PLRA

by preventing a prisoner from proceeding in forma pauperis when the prisoner repeatedly files

meritless lawsuits. Known as the “three-strikes” rule, the provision states:

        In no event shall a prisoner bring a civil action or appeal a judgment in a civil action
        or proceeding under [the section governing proceedings in forma pauperis] if the
        prisoner has, on 3 or more prior occasions, while incarcerated or detained in any
        facility, brought an action or appeal in a court of the United States that was
        dismissed on the grounds that it is frivolous, malicious, or fails to state a claim upon
        which relief may be granted, unless the prisoner is under imminent danger of
        serious physical injury.

28 U.S.C. § 1915(g). The statutory restriction “[i]n no event,” found in § 1915(g), is express and

unequivocal. The statute does allow an exception for a prisoner who is “under imminent danger

of serious physical injury.” The Sixth Circuit has upheld the constitutionality of the three-strikes

rule against arguments that it violates equal protection, the right of access to the courts, and due

process, and that it constitutes a bill of attainder and is ex post facto legislation. Wilson v. Yaklich,

148 F.3d 596, 604-06 (6th Cir. 1998).

                Plaintiff has been an active litigant in the federal courts in Michigan. In more than

three of Plaintiff’s lawsuits, the Court entered dismissals because the cases were frivolous,

malicious or failed to state a claim. See, e.g., McGore v. Mich. Sup. Ct. Judges, No. 1:94-cv-517

(W.D. Mich. Jan. 25, 1995); McGore v. Nardi et al., No. 2:93-cv-137 (W.D. Mich. Aug. 2, 1993);
                                                   2
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McGore v. Stine et al., No. 2:93-cv-112 (W.D. Mich. July 26, 1993); McGore v. Stine et al., No.

2:93-cv-77 (W.D. Mich. Apr. 30, 1993). Although many of the dismissals were entered before

enactment of the PLRA on April 26, 1996, the dismissals nevertheless count as strikes. See Wilson,

148 F.3d at 604. In addition, Plaintiff previously has been denied leave to proceed in forma

pauperis on numerous occasions for having three strikes.

               Moreover, Plaintiff’s allegations do not fall within the “imminent danger”

exception to the three-strikes rule. 28 U.S.C. § 1915(g). In Plaintiff’s complaint, he does not

allege facts showing that he is in imminent danger of serious physical injury.

               Therefore, § 1915(g) prohibits Plaintiff from proceeding in forma pauperis in this

action. Plaintiff has twenty-eight (28) days from the date of entry of this order to pay the entire

civil action filing fee, which is $400.00. When Plaintiff pays his filing fee, the Court will screen

his complaint as required by 28 U.S.C. § 1915A and 42 U.S.C. § 1997e(c). If Plaintiff does not

pay the filing fee within the 28-day period, this case will be dismissed without prejudice, but

Plaintiff will continue to be responsible for payment of the $400.00 filing fee.



Dated: October 17, 2018                                      /s/ Gordon J. Quist
                                                            GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE


SEND REMITTANCES TO THE FOLLOWING ADDRESS:
Clerk, U.S. District Court
399 Federal Building
110 Michigan Street, NW
Grand Rapids, MI 49503

All checks or other forms of payment shall be payable to “Clerk, U.S. District Court.”




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